                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                              CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                  Plaintiff,                                      No. 06-CR-103-LRR
 vs.                                                                     ORDER
 DONGYAN HUANG and
 ZHANG JIAN LONG,
                  Defendants.
                                      ____________________

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                                  I. INTRODUCTION
      The matter before the court is Defendant Zhang Jian Long’s Objections (docket no.
70) to Chief Magistrate Judge John A. Jarvey’s Report and Recommendation (docket no.
67) which recommends the denial of Defendant Zhang’s Motion to suppress his statements
(docket nos. 9, 39, 43 and 47).
                     II. RELEVANT PROCEDURAL HISTORY
      On September 1, 2006, Defendant Dongyan Huang (“Defendant Huang”) and
Defendant Zhang Jian Long (“Defendant Zhang”) filed a Joint Motion to Suppress Physical
Evidence (“Joint Motion”), which seeks to suppress evidence seized pursuant to several
search warrants. On September 18, 2006, the government filed a Resistance. On
October 6, 2006, the government supplemented its Resistance (“Supplemental
Resistance”).
      On October 20, 2006, Defendant Huang and Defendant Zhang filed a Joint Brief
in Support of their Motion to Suppress All Evidence (“Joint Brief”), in which they added
a request to suppress statements they made to law enforcement officers. On October 26,
2006, the government filed a second supplement to its Resistance (“Second Supplemental
Resistance”). On October 30, 2006, Defendant Huang and Defendant Zhang filed a
Supplement to Their Joint Brief in Support of Their Joint Motion (“Supplemental Joint
Brief”).
      On October 30, 2006, Magistrate Judge Paul A. Zoss held a hearing (“October
Hearing”) on Defendant Huang and Defendant Zhang’s Motion. During the October
Hearing, Magistrate Judge Zoss ordered Defendant Huang and Defendant Zhang to file a
brief in support of their Supplemental Joint Brief. Due to a problem with the interpreter,
the October Hearing was postponed.
      On October 31, 2006, Magistrate Judge Zoss filed a Partial Report and

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Recommendation which recommended denying the portion of Defendant Huang and
Defendant Zhang’s Motion that sought to suppress evidence seized pursuant to the search
warrants. Magistrate Judge Zoss reserved his recommendation regarding the suppression
of Defendant Huang and Defendant Zhang’s statements until an evidentiary hearing on that
portion of Defendant Huang and Defendant Zhang’s Motion could be held. Defendant
Huang and Defendant Zhang did not file an objection to the October 31, 2006 Partial
Report and Recommendation.
       On November 1, 2006, Defendant Huang and Defendant Zhang filed a Joint Brief
in Support of Their Motion to Suppress All Statements (“Joint Brief to Suppress
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Statements”) (docket no. 47). On November 6, 2006, the government filed a Resistance
to Defendant Huang and Defendant Zhang’s Joint Brief to Suppress Statements (docket no.
48).
       On November 8, 2006, Magistrate Judge Zoss held a status hearing (docket no. 51).
On November 9, 2006, Magistrate Judge Zoss found the portion of the Motion requesting
the suppression of Defendant Huang’s statements moot. Magistrate Judge Zoss reserved
his recommendation on the portion of the Motion requesting the suppression of Defendant
Zhang’s statements. On the same day, the court filed an order adopting Magistrate Judge
Zoss’s October 31, 2006 Partial Report and Recommendation.
       On November 13, 2006, Chief Magistrate Judge John A. Jarvey held a hearing on
the portion of the Motion requesting the suppression of Defendant Zhang’s statements
(“November Hearing”). On December 6, 2006, Magistrate Judge Jarvey filed a Report
and Recommendation in which he recommends the denial of the remaining portion of the
Motion. On December 20, 2006, Defendant Zhang filed his Objections to the Report and

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          The court will collectively refer to the Joint Motion, Joint Brief, Supplemental
Joint Brief and Joint Brief to Suppress Statements as a “Motion.”

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Recommendation (“Objections”).
       The court, therefore, finds the portion of the Motion that seeks to suppress
Defendant Zhang’s statements fully submitted and ready for decision.
                            III. STANDARD OF REVIEW
       The district court judge is required to make a de novo determination of those
portions of a magistrate judge’s report and recommendation to which a movant objects.
28 U.S.C. § 636(b)(1)(C); see also United States v. Lothridge, 324 F.3d 599, 600 (8th
Cir. 2003). The district court judge may accept, reject or modify, in whole or in part, the
magistrate judge’s findings or recommendations. 28 U.S.C. § 636(b)(1); see also United
States v. Trice, 864 F.2d 1421, 1424 (8th Cir. 1988). Defendant Zhang has made specific,
timely objections to the Report and Recommendation. Therefore, de novo review of
“those portions of the report or specified proposed findings or recommendations to which
objection is made” is required. See 28 U.S.C. § 636(b)(1); see also Fed. R. Civ. P. 72(b)
(requiring de novo review of a magistrate judge’s report and recommendation on
dispositive motions).
                                     IV. ANALYSIS
                                  A. Findings of Facts
       Defendant Zhang asserts the following objections to the findings of facts in the
Report and Recommendation: (1) that Defendant Zhang told Bureau of Immigration and
Customs Enforcement Agency Special Agent Christopher Cantrell (“SA Cantrell”) that he
spoke Mandarin; (2) that there was no evidence presented that Defendant Zhang’s
preferred dialect is Wenzhouhua; (3) that there was no evidence presented that Defendant
Zhang did not understand the Mandarin interpretation; (4) that Kitty Chi, the interpreter
used during Defendant Zhang’s interrogation, is a highly qualified interpreter and (5) that
Ms. Chi’s inability to specifically remember the interpretation is evidence that she

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interpreted consistent with her habit and routine.
      1.     Finding that Defendant Zhang stated he spoke Mandarin
      Defendant Zhang claims that Magistrate Judge Jarvey improperly found that he told
SA Cantrell that he spoke Mandarin and requested a Mandarin interpreter. During the
November Hearing, SA Cantrell testified that he spoke with Defendant Zhang regarding
his native language. Speaking in English, Defendant Zhang informed SA Cantrell that he
spoke Mandarin. Ms. Chi testified that, although she does not recall the specifics of this
particular interpretation, it is her common practice to ask non-English speaking persons
for whom she is interpreting which dialect they prefer. She normally asks the non-English
speaking person this question in Mandarin.           Ms. Chi explained that there was a
Wenzhouhua interpreter available if Defendant Zhang had requested one. Defendant
Zhang has offered no evidence to contradict the testimony of SA Cantrell or Ms. Chi.
Accordingly, his objection to this portion of the Report and Recommendation is overruled.
      2.    Finding that Defendant Zhang failed to prove his preferred dialect is
            Wenzhouhua
      Defendant Zhang objects to the finding in the Report and Recommendation that he
presented no evidence that his preferred dialect is Wenzhouhua. He asserts that he
presented evidence that his preferred dialect is Wenzhouhua during the cross-examination
of the witnesses during the November Hearing. Defendant Zhang also claims that, because
he stated in his Motion that he prefers Wenzhouhua, needed a Wenzhouhua translator to
obtain his immigration benefits, used a Wenzhouhua translator for the November Hearing
and will have a Wenzhouhua translator for his trial, it is only logical that his preferred
dialect is Wenzhouhua.
      Defendant failed to provide any evidence that his preferred dialect is Wenzhouhua.
During the November Hearing, Ms. Chi testified that she always asks the non-English
speaking persons for whom she is interpreting what dialect they would prefer. She asks

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this initial question in Mandarin which is the dialect taught in Chinese schools. Based on
her experience as an interpreter, Ms. Chi is able to determine by an individual’s accent if
she will have a problem interpreting for them. If she notes any difficulty in an individual’s
ability to understand her interpretation, she immediately informs the agent conducting the
interview and determines if the individual would prefer a different dialect. Ms. Chi
testified that she does not speak Wenzhouhua, however there was a Wenzhuahou
interpreter available if Defendant Zhang had requested that dialect. Defendant Zhang told
Ms. Chi and SA Cantrell that he spoke Mandarin, and, during the November Hearing,
Defendant Zhang provided no evidence to the contrary. Accordingly, his objection to this
finding of fact is overruled.
       3.     Finding that Defendant Zhang understood the Mandarin interpretation
       Defendant objects to the finding in the Report and Recommendation that “there is
no evidence other than that presented by the interpreter as to the defendant’s understanding
of Mandarin or any alleged difficulties he had understanding the interpreter used by Agent
Cantrell.” Defendant Zhang asserts that the inconsistencies in his answers to the questions
asked by SA Cantrell evidence his inability to understand Ms. Chi’s Mandarin
interpretation.
       During the November Hearing, SA Cantrell testified that he read Defendant Zhang
his Miranda rights, Ms. Chi interpreted those rights to Defendant Zhang in Mandarin and
he indicated that he understood his rights. SA Cantrell stated that there was nothing in
Defendant Zhang’s body language or mannerisms that led him to believe that Defendant
Zhang did not understand his rights. Additionally, from the answers SA Cantrell received
to the questions asked through Ms. Chi, it appeared as though Defendant Zhang
understood the interpretation. SA Cantrell’s investigative report which provides Defendant
Zhang’s responses to SA Cantrell’s questions shows that he understood the translation by

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Ms. Chi. The fact that Defendant Zhang gave at least one inconsistent response to a
question by SA Cantrell is not an indication that he did not understand the interpretation.
During the November Hearing, Ms. Chi explained that, if she had any intimation that
Defendant Zhang did not understand her interpretation, she would have stopped the
questioning and requested a new interpreter. Although Defendant Zhang claims that his
preferred dialect is Wenzhouhua, there is no evidence that he did not understand the
Mandarin interpretation provided to him by Ms. Chi. Accordingly, Magistrate Judge
Jarvey properly determined that “[D]efendant understood and responsively answered [SA]
Cantrell’s questions.”
       4.     Finding that Ms. Chi is a highly qualified interpreter
       Defendant Zhang objects to Magistrate Judge Jarvey’s determination that Ms. Chi
is a “highly qualified interpreter.” Defendant Zhang claims that, because Ms. Chi is not
a certified interpreter, she was not qualified to interpret for Defendant Zhang. Further,
Defendant Zhang asserts that, even if Ms. Chi converses daily in Mandarin and is able to
speak two other dialects, she is unable to speak Wenzhouhua and, therefore, was not
qualified to interpret for Defendant Zhang.
       During the November Hearing, Ms. Chi explained that she was born in Hong Kong
and lived there for twenty years. While in Hong Kong, she spoke the Cantonese dialect
outside of school. Accordingly, she speaks fluent Cantonese. Ms. Chi’s parents were
from Foochow and spoke only the Foochowese dialect at home. Accordingly, she speaks
fluent Foochowese. In school in Hong Kong, Ms. Chi studied and spoke Mandarin, the
official dialect taught in Chinese schools, throughout her eleven years of secondary
education. Therefore, she also speaks fluent Mandarin. Ms. Chi advised that, because
Mandarin is the official dialect taught in Chinese schools, it is common for most Chinese
to speak both Mandarin and their local dialect.

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       Ms. Chi testified that she has been an interpreter for the Department of Homeland
Security since 1999. Prior to that employment, she worked for three other language
interpreting services. Ms. Chi testified that, as an interpreter for the Department of
Homeland Security, she converses daily using the Mandarin dialect. Although she is not
a certified interpreter, she serves as an interpreter on approximately ten to twenty cases
a day. She does not speak Wenzhouhua and, therefore, if Defendant Zhang had any
difficulty understanding her Mandarin interpretation and attempted to speak Wenzhouhua,
she would have noticed and would have called for a different interpreter. Magistrate Judge
Jarvey properly determined that Ms. Chi is a “highly qualified interpreter,” based on her
training and personal interactions in Hong Kong and experience as a well-seasoned
interpreter for the Department of Homeland Security. Defendant Zhang’s objection to this
finding shall, therefore, be denied.
       5.     Finding that Ms. Chi interpreted consistent with her habit and routine
       Defendant Zhang objects to Magistrate Judge Jarvey’s finding that Ms. Chi “does
not remember this particular call is, in fact, strong evidence that the conversation was
effectively translated as part of the interpreter’s routine habit.” Defendant Zhang contends
that the fact that Ms. Chi does not remember the interpretation is a “red flag” and indicates
that “there may have been some serious problems.”
       Ms. Chi testified that the interpreters at the Department of Homeland Security have
a standard procedure that is followed for every interpretation. Using the Mandarin dialect,
the dialect spoken by most Chinese, the interpreters ask the non-English speaking person
which dialect they prefer. If during the interview, the interpreter notices that the non-
English speaking person has any difficulty understanding the interpretation, the interpreter
immediately notifies the agent conducting the interview and again asks the non-English
speaking person what dialect is preferred. Ms. Chi admitted that she has no memory of

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the July 6, 2006 interpretation that she performed for Defendant Zhang and that, if there
had been any difficulty with Defendant Zhang’s interpretation, this specific interpretation
would have been more memorable to her. There is no evidence that the interpretation did
not proceed like the other ten to twenty interpretations Ms. Chi performs each day.
Accordingly, Defendant Zhang’s objection to this finding in the Report and
Recommendation is denied.
       6.     Testimony
       After a de novo review of the record, the court adopts Magistrate Judge Jarvey’s
findings of facts in the Report and Recommendation.
                                 B. Conclusions of Law
       Defendant Zhang asserts that he did not knowingly, voluntarily and intelligently
waive his Miranda rights and, therefore, his statements made to SA Cantrell should be
suppressed. Defendant Zhang objects to Magistrate Judge Jarvey’s determination that “it
is clear that the government established by a preponderance of the evidence that
[D]efendant [Zhang] understood and waived [his] rights prior to speaking with Agent
Cantrell.” The court finds that Magistrate Judge Jarvey’s determination was correct.
       “Miranda prohibits the government from introducing into evidence statements made
by the defendant during a custodial interrogation unless the defendant has been previously
advised of his [F]ifth [A]mendment privilege against self-incrimination and right to an
attorney.” United States v. Chipps, 410 F.3d 438, 445 (8th Cir. 2005) (citing Miranda
v. Arizona, 384 U.S. 436, 444 (1966)). An individual’s right to Miranda warnings
attaches if the person is in “custody or otherwise deprived of his freedom of action in any
significant way.” Miranda, 384 U.S. at 444. Once an individual is advised of his
Miranda rights, his statements may be used if he knowingly and voluntarily waives those
rights. United States v. Annis, 446 F.3d 852, 855 (8th Cir. 2006).

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              “A waiver is ‘knowing and intelligent’ where it is made with
              full awareness of both the nature of the right being abandoned
              and the consequences of abandoning the right, and a waiver is
              ‘voluntary’ where the court can determine that the waiver was
              a product of the suspect’s free and deliberate choice, and not
              the product of intimidation, coercion, or deception.”

United States v. Bell, No. 06-2802, 2007 WL 517746, at *3 (8th Cir. 2007) (quoting Thai
v. Mapes, 412 F.3d 970, 977 (8th Cir. 2005)). “A statement is not voluntary if the totality
of the circumstances shows the defendant’s will was overborne.” Annis, 446 F.3d at 855.
       Defendant Zhang claims that he did not understand Ms. Chi’s interpretation of the
Miranda warnings provided by SA Cantrell and, therefore, he could not have knowingly
and voluntarily waived his rights. While language barriers are a factor to consider in
determining a suspect’s ability to knowingly waive his rights, it should not be a hinderance
when the suspect is advised of those rights in a language he claims to understand. United
States v. Boon San Chong, 829 F.2d 1572, 1574 (11th Cir. 1987) (citing United States v.
Heredia-Fernandez, 756 F.2d 1412, 1415 (9th Cir. 1985)).
       The totality of the circumstances surrounding Defendant Zhang’s statements to SA
Cantrell using Ms. Chi’s interpretation do not support his allegation that the waiver of his
Miranda rights was unknowing. During the November Hearing, SA Cantrell testified that
he spoke with Defendant Zhang regarding his native language. Speaking in English,
Defendant Zhang informed SA Cantrell that he spoke Mandarin. SA Cantrell testified that
he read Defendant Zhang his Miranda rights, Ms. Chi interpreted those rights to Defendant
Zhang in Mandarin and he indicated that he understood his rights. SA Cantrell stated that
there was nothing in Defendant Zhang’s body language or mannerisms that led him to
believe that Defendant Zhang did not understand his rights. Additionally, from the
answers SA Cantrell received to the questions asked through Ms. Chi, it appeared as


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though Defendant Zhang understood the interpretation. SA Cantrell’s investigative report
which provides Defendant Zhang’s responses to SA Cantrell’s questions shows that he
understood the translation by Ms. Chi.
       Ms. Chi testified that, although she does not recall the specifics of this particular
interpretation, it is her common practice to ask persons for whom she is interpreting which
dialect they prefer. She asks this initial question in Mandarin which is taught in Chinese
schools. Based on her experience as an interpreter, Ms. Chi is able to determine by an
individual’s accent if she will have a problem interpreting for them. If she notes any
difficulty in an individual’s ability to understand her interpretation, she immediately
informs the agent conducting the interview and determines if the individual would prefer
a different dialect. Ms. Chi testified that she does not speak Wenzhouhua, however there
was a Wenzhuahou interpreter available if Defendant Zhang had requested that dialect.
Even if Defendant prefers to speak Wenzhouhua, there is no evidence that he did not
understand Mandarin, the dialect that he requested.
       The government proved by a preponderance of the evidence that Defendant Zhang
understood his Miranda rights and that his waiver of those rights was both knowingly and
intelligently made.   Magistrate Judge Jarvey properly recommended that Defendant
Zhang’s Motion requesting the suppression of the statements made to SA Cantrell should
be denied. Accordingly, Defendant Zhang’s objection to this conclusion is denied.
       Defendant Zhang does not claim that SA Cantell intimidated or coerced him into
making his statements. See Bell, 2007 WL 517746, at *3 (noting that “a waiver is
‘voluntary’ where the court can determine that the waiver was a product of the suspect’s
free and deliberate choice, and not the product of intimidation, coercion, or deception”).
Accordingly, the court finds that Defendant Zhang’s waiver of his Miranda rights was
voluntary and his objection to the contrary is denied.

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                             V. CONCLUSION
  IT IS ORDERED:
  (1)   The court DENIES the remaining portion of Defendant Dongyan Huang and
        Defendant Zhang Jian Long’s Motion that requests the suppression of
        Defendant Zhang’s statements (docket nos. 9, 39, 43 and 47);
  (2)   The Clerk of Court is directed to satisfy the Joint Motion to Suppress
        Physical Evidence (docket no. 9), the Joint Brief in Support of Their Motion
        to Suppress All Evidence (docket no. 39), the Supplement to Their Joint
        Brief in Support of Their Joint Motion to Suppress All Evidence (docket no.
        43) and Joint Brief in Support of Their Motion to Suppress All Statements
        (docket no. 47);
  (3)   The court ADOPTS Magistrate Judge Jarvey’s Report and Recommendation
        of December 6, 2006 (docket no. 67); and




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  (4)   The period between the filing of Defendants’ Motion and this Order is
        excluded from calculation under the Speedy Trial Act.          18 U.S.C.
        § 3161(h)(1)(F) (excluding “delay resulting from any pretrial motion, from
        the filing of the motion through the conclusion of the hearing on, or other
        prompt disposition of, such motion”); 18 U.S.C. § 3161(h)(1)(J) (excluding
        “delay reasonably attributable to any period, not to exceed thirty days,
        during which any proceeding concerning the defendant is actually under
        advisement by the court”).


  DATED this 27th day of February, 2007.




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